ILND 450 (Rev.Case:   1:14-cv-05149
              10/13) Judgment in a Civil ActionDocument   #: 102 Filed: 08/29/17 Page 1 of 1 PageID #:1380

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

Michelle Lee Tannlund,

Plaintiff(s),
                                                                  Case No. 14 C 05149
v.                                                                Judge Edmond E. Chang

Real Time Resolutions, Inc.,

Defendant(s).

                                              JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which         includes       pre–judgment interest.
                                        does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


               other: Defendant shall pay to the class $754,694.45; pay a service award of $12,500 to the
named Plaintiff; and pay attorney's fees of $502,000 and costs of $30,805.55. Claims of the Plaintiff and the
class are otherwise dismissed with prejudice.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Edmond E. Chang on a motion



Date: 8/29/2017                                                Thomas G. Bruton, Clerk of Court

                                                               s\Sandra Brooks, Deputy Clerk
